Case 5:19-cv-02505-JGB-SP Document1-1 Filed 12/30/19 Page 1of14 Page ID #:10

EXHIBIT A
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 2o0f14 Page ID #:11

 

null / ALL
. 7 T ittal Number: 20585935
Notice of Service of Process 'apate Processed: 10/24/2019

 

Primary Contact: Heather McClow
Lowe's Companies, Inc.
1000 Lowes Blvd
Mooresville, NC 28117-8520

 

Entity:

Entity Served:

Title of Action:
Document(s) Type:
Nature of Action:
Court/Agency:
Case/Reference No:
Jurisdiction Served:
Date Served on CSC:
Answer or Appearance Due:
Originally Served On:
How Served:

Sender Information:

Lowe's Home Centers, LLC
Entity ID Number 2515365

Lowe's Home Centers, LLC

David DeHate vs. Lowe's Home Centers, LLC
Summons/Complaint

Personal Injury

Riverside County Superior Court, CA
MCC1901302

California

10/23/2019

30 Days

CSC

Personal Service

Richard A. Jones
714-148-0020

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC

251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 30f14 Page ID #:12

 

SUM-100
(c Tee aL) (501 ee ESSE Otcoare

NOTICE TO DEFENDANT:

(AVISO AL DEMANDADO): F l L E D

Superior Court of California

goes Home Contrs. LLC: Lowe's Companies, Inc.; Josh DOE County of Riverside
ad DOES | TO 100 10/18/2019

YOU ARE BEING SUED BY PLAINTIFF: J. Valdez
(LO ESTA DEMANDANDO EL DEMANDANTE): Electronically Filed
David DeHate

 

 

NOTICE! You have been sued. The court may decide against you without your being heard unfess you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you lo file a written response at this court and have a copy
served on the plainiliff. A letter ar shone call will not protect you, Your writtan response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and mora information at the Galifornia Courts
Ontine Self-Help Center (www.courtinfo.ca,gov/selhelp), your counly law library, or the courthouse nearest you. Ifyou cannot pay the filing fee. ask
the court clerk for a fae waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and properly
may be taken without further warning from the court.

There are other legal requirements. You may want to call an allormey right away. If you do hol Know an attorney, you may want to call an atlorney
referral service. If you cannot afford an altomey, you may be ellgibte for free legal services from a nonprofit egal services program. You can locate
these nonprofit groups‘at the Califomla Legal Services Web site (1wwwJawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local caurt or county bar association, NOTE: The court has a statutory lien for waived fees and
costs on any settlement or-arbiiration award of $10,000 or mora in a civil case. The court's lien must be paid before the court will dismiss the case.
JAVISO! Lo han demandado. Si no responde.dentre do 30 dias, la corle puede decidir en su contra sin escuchar su version. Lea fa informacién a
continuacion.

Tiane 30 olAS OE CALENDARIO después de que le entroquen esta cilacién y papetes logales para presentas una respuesta por escrito en esta
core y hacer que se entregue una copia af demandente. Una carta o una fliamada telefénica no lo protegen. Su respuesta por escrilo tiene que estar
en formato legal correcio s! desea que procesen su caso en Ja corte. &3-posible que-haya un jormulario que usted pueda usar pare su respuesta.
Puede encontrar estos formularios de fa corte y mas informacién en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de sti candado o en fa corte que Je quede mas cerca. Si no puede pagar fa cuota de presentacién, pida al secreterio de la corte
que fe dé un formulario da exenciin de pago de cuotas. Sino presenta su respuesta a tiempo, pueda perder el caso por incumplimiento y ta corte te
podra quitar su sueldo, dinero y bienes sin mas advertencia.

Hay otros requisitos iegales. Es recomendable que ilame a un abogado inmediatamente, Si no conoce a un abogado, puede Jamar a un servicio de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla cen los requisifos para obtener servicios lagales gratuftos de un
programe de servicios fagales sin fnes.de lucro. Puede encontrar estos grupos sin fines da lucro en ef sitio web de Catifarnia Legal Services.

(www lawhelpcalifornia.org), en a! Cantro de Ayuda de Jas Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con ta corte o el
colegio da abogados locales. AVISO: Por ley, la corte ene darecho a reclamar las cuotas y los coslos exentos por imponer un gravamen sobre
cuvalquicr recuperacién do $10,000 6 mas do valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de ja carte antes de que /a corte pueda desechar ol caso.

 

 

The name and address of the court is: CASE NUMBER:
(El nombre y direccion de la corte es): Southwest Justice Center Mimerdelceso: MOC1901302

30755-D Auld Road, Murrieta, CA 92563

 

 

 

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attomey, is:
(El nombre, la direccién y el nimero de teléfono del abogado de! demandante, o del demandante que no tiene abogado, es):

Richard.A. Jones, Law Offices of Richard A. Jones, 1820 E. 17th Street, Santa Ana, CA 92701, 714-480-0200
. Das -

DATE: 10/18/2019 Clerk, by ge , Deputy

(Fecha) (Secretario) at J. Valdez (Adjunto)

(For proof of service. of this summons, use Proof of Servica of Summons (form POS-010).)

(Para prueba de entrega de esta citation use el formulario Proof of Service ef Summons, (POS-070).

NOTICE TO THE PERSON SERVED: You are served

4. (1 as an individual defendant.
2. [__] as the person sued under the fictitious name of (specify):

 

3, CX] on behalf of (specify): Lowe's Home Centers, LLC

under: L_] CCP’ 416.10 (corporation) [7] CCP*416.60 (minor)
(C] CCP 416.20 (defunct corporation) [__] CCP 416.70 (conservatee)
(XX) CCP 416.40 (association or partnership) [_}] CCP 416.90 (authorized person)

L_] other (specify):
4. [7] by personal delivery on (dats):

 

 

 

 

 

Poge 1 of 1
Form Adopted for tandatory Use Code of Cid Procooure §§ £12.20, 465
Judiriat Council of Caffornia SU M MONS vier. cOurbolo.ca.guv

SUM-100 (Rev, ty 1, 2008)

\OOHI A
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 4of14 Page ID #:13

PLD-PI-001
_ FOR COURT USE ONLY

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Siste Ber numbor, and address):
[—~ Richard A. Jones (SBN 117679)
Law Offices of Richard A, Jones

Santa Ana, CA 92703 FILED

 

TeLePHoNE NO: 714-480-0200 FAX NO. {Options}: 714-480-0423 Superior Court of California
E-MAIL ADDRESS (Opionag: Melinda@ricjoneslegal.com County of Riverside
ATTORNEY FOR (Name): David DeHate 4 0 iM 8 {20 1 9
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside J. Valdez
street appress: 30755-D Auld Road .
Electronically Filed

MAILING ADDRESS:
cry ane zie cone: Murrieta, CA 92563
srancH name: Southwest Justice Center

PLAINTIFF: David DeHate

 

DEFENDANT: Lowe's Home Centers, LLC; Lowe's Companies, Inc.;
Josh DOE, and

poes1To 100

COMPLAINT—Personal Injury, Property Damage, Wrongful Death
(__] AMENDED (Number):

Type (check all that apply):

[[_] MOTOR VEHICLE [[_] OTHER (specify):

Property Damage [__] Wrongful Death

¥_] Personal Injury [__] Other Damages (specify):

Jurisdiction (check all that apply):
(__] ACTION IS A LIMITED CIVIL CASE
Amount demanded [(_] does not exceed $10,000

[__] exceeds $10,000, but does not exceed $25,000 MCC1901302
ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
(_] ACTION IS RECLASSIFIED by this amended complaint
L_] trom limited to unlimited
[7] from unlimited to limited

1. Plaintiff (name or names): David DeHate
alleges causes of action against defendant (name or names):
Lowe's Home Centers, LLC; Lowe's Companies, Inc.; Josh DOE, and DOES 1 to 100

2. This pleading, including attachments and exhibits, consists of the following number of pages: 5

3. Each plaintiff named above is a competent adult
a. [-_] except plaintiff (name):
(1) [[7] a corporation qualified to do business in California
(2) [__] an unincorporated entity (describe):
(3) [) a public entity (describe):
(4) [] aminer [7] an adutt
(a) [__] for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
(b) [] other (specify):
(5) (] other (specify):
b. [__] except plaintiff (name):
(1) [_] a corporation qualified to do business in California
{2) [—_] an unincorporated entity (describe):
(3) [-_] a public entity (deseriba):
(4) [—) aminor [] an adutt
(a) [_] for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
(b) [__] other (specify):
(5) [_] other (specify):

 

 

 

 

 

 

 

 

CASE NUMBER:

 

 

 

 

 

[J Information about additional plaintiffs who are not competent adults is shown in Attachment 3. page 1 of 3
Form Approved for Options! Use COMPLAINT—Personal Injury, Property aeaahabeainhinrernlt owt

Judicial Council of California
PLO-PLOD1 (Rev. January 1, 2607] Damage, Wrongful Death
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page5of14 Page ID #:14

 

 

 

 

 

PLD-P1-001
SHORT TITLE: CASE NUMBER:
DeHate v. Lowe's Home Centers, LLC et al.
4, [_] Plaintiff (name):
Is doing business under the fictitious name (specify):
and has complied with the fictitious business name laws.
5, Each defendant named above is a natural person
a. except defendant (name): Lowe's Home Centers, LLC; c. except defendant (name): Josh DOE
(1) [-_] a business organization, form unknown (1) [_] a business organization, form unknown
(2) [__] a corporation (2) [__] a corporation
(3) [_] an unincorporated entity (describe): (3) [__] an unincorporated entity (describe):
(4) (] a public entity (describe): (4) [] a public entity (describe):
(5) other (specify): (5) other (specify):
Limited Liability Company an individual, employee of the Lowe's

Defendants, last name unknown
b. except defendant (name): Lowe's Companies, Inc. d. [[_] except defendant (name):

(1) [_] a business organization, form unknown (1) [] a business organization, form unknown
(2) a corporation (2) [-_] acorporation

(3) [_] an unincorporated entity (describe): (3) [(_] an unincorporated entity (describe):
(4) [(_] a public entity (describe): (4) [_] a public entity (describe):

(5) [_] other (specify): (5) [[_] other (specify):

[__] Information about additional defendants who are not natural persons is contained in Attachment 5.

6. The true names of defendants sued as Does are unknown to plaintiff.
a. Doe defendants (specify Doe numbers): 1-50 were the agents or employees of other
named defendants and acted within the scope of that agency or employment,
b. Doe defendants (specify Doe numbers): 51-100 are persons whose capacities are unknown to
plaintiff.
7. ([] Defendants who are joined under Code of Civil Procedure section 382 are (names):

8. This court is the proper court because

. [_] at least one defendant now resides in its Jurisdictional area.

. [__] the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area,
. injury to person or damage to personal property occurred in its jurisdictional area.

. [_] other (specify):

aa nr 8

9. (__] Plaintiff is required to comply with a claims statute, and
a. [__] has complied with applicable claims statutes, or
b. [_] is excused from complying because (specify):

 

PLD-PL001 [Rev. January 1, 2007] COMPLAINT—Personal Injury, Property Page 2 af 3
Damage, Wrongful Death
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 6of14 Page ID#:15

PLD-PI-001

 

SHORT TITLE: CASE NUMBER:
DeHate v. Lowe's Home Centers, LLC et al.

 

 

 

 

10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
causes of action attached):

[__] Motor Vehicle

General Negligence

[_] Intentional Tort

[_] Products Liability

Premises Liability

[__] Other (specify):

m~e aor

11. Plaintiff has suffered
[7] wage toss

[__] loss of use of property

hospital and medical expenses
general damage

[__] property damage

loss of earning capacity

(-_] other damage (specify):

amrpoogp

12. [[_] The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
a. ([_] listed in Attachment 12.
b. [_] as follows:

13. The relief sought in this complaint is within the jurisdiction of this court.

14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
a (1) compensatory damages
(2) [_] punitive damages
The amount of damages is (in cases for personal Injury or wrongful death, you must check (1)):
(1) according to proof
(2) [] in the amount of: $

15, The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):
The entire Judicial Council Form Complaint.

Date: October 18, 2019

Richard A. Jones > PAionand G.- Jonny

(TYPE OR PRINT NAME) (SIGNATURE OF PLAINTIFF PR ATTORNEY)

PLD-PI-001 [Rov. January 1, 2007] COMPLAINT—Personal Injury, Property Page 3 of 3
Damage, Wrongful] Death

 
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 7 of14 Page ID #:16

PLD-PI-001(2)

 

SHORT TITLE: CASE NUMBER:
DeHate v. Lowe's Home Centers, LLC et al.

 

 

 

 

FIRST CAUSE OF ACTION—General Negligence _— Page 4

(number)

ATTACHMENT TO Complaint [[_] Cross - Complaint

(Use a separate cause of action form for each cause of action.)

GN-1, Plaintiff (game): David DeHate

alleges that defendant (name): Lowe's Home Centers, LLC, Lowe's Companies, Inc.; Josh DOE, and

[Cv] Does 1 to 100

was the tegal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
negligently caused the damage to plaintiff

on (date): November 26, 2018
at (place): 350 S. Sanderson Ave., Hemet, CA 92545

(description of reasons for liability):

Plaintiff was a customer at Defendants Lowe's Home Centers, LLC and Lowe's Companies, Inc.
Store #1556 in Hemet, CA on November 26, 2018. Plaintiff purchased 33 boxes of flooring
material. The 33 boxes were placed on a pallet. Due to Defendants Lowe's Home Centers, LLC
and Lowe's Companies, Inc. negligent training and/or negligent supervision of Defendants'
employee, Defendant Josh DOE (last name unknown) moved the pallet with the Defendants
forklift and negligently, carelessly and recklessly dropped the pallet of flooring material on
Plaintiff's right foot, trapping him under the pallet. In an effort to free his foot, Plaintiff fell

backwards and twisted his knee and suffered substantial injuries in an amount to be proven at the
time of trial.

Page 1 of 1

3 2 f \e
Fadil Cosnelet Celera CAUSE OF ACTION—General Negligence ote courting. gow
PLD-PLOO{(2) [Rev. January 1, 2007}
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 8o0f14 Page ID #:17

 

 

 

 

 

PLD-PI-001 (4)
SHORT TITLE: CASE NUMBER:
Dehate v Lowe's Companies, Inc.;
SECOND CAUSE OF ACTION—Premises Liability Page
(number)
ATTACHMENT TO Complaint [7] Cross - Complaint
(Use a separate cause of action form for each cause of action.)
Prem.L-1. Plaintiff (name): David DeHate
alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
On (date): November 26, 2018 plaintiff was injured on the following premises in the following

fashion (description of premises and circumstances of injury):

On or about November 26, 2018, due to negligently designed, maintained and managed
loading/pickup area of the Defendants LOWE'S Store, #1556 in Hemet, CA, as well as the
negligent training and/or supervision of employee Defendant Josh DOE (last name unknown),
a forklift operator, Plaintiff suffered serious and permanent injuries when Defendant Josh DOE
(last name unknown) dropped a pallet on plaintiff's right foot in the loading area, trapping
plaintiff's right foot, while he waited for Defendant's employees to load his tile purchase.

Prem.L-2. Count One—Negligence The defendants who negligently owned, maintained, managed and
operated the described premises were (names):

Lowe's Home Centers, LLC; Lowe's Companies, Inc. and

Does l to 100

Prem.L-3. [__] count Two—Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
(names):

 

[1 Does to

Plaintiff, a recreational user, was [C—) an invited guest Cola paying guest.

Prem.L-4. [LJ count Three—Dangerous Condition of Public Property The defendants who owned public property
on which a dangerous condition existed were (names):

(__]Does to

a. (J The defendant public entity had ([™) actual [<1 constructive notice of the existence of the
dangerous condition in sufficient time prior to the injury to have corrected it.
b. [_] The condition was created by employees of the defendant public entity.

Prem.L-5. a. [4] Allegations about Other Defendants The defendants who were the agents and employees of the
other defendants and acted within the scope of the agency were (names):

Josh DOE (last name unknown) and

Does i to 50

b. [7] The defendants who are liable to plaintifis for other reasons and the reasons for their liability are
[—"] described in attachment Prem.L-5.b [7] as follows (names):

 

Page 1 of 1
Form Approved for Optional ise CAUSE OF ACTION—Premises Liability Code of Civil Procedure, § 425.12

.courtinio. 3,
PLD-PI-001(4) [Rev. January 1, 2007) werew courinia.e3. gov
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 9of14 Page ID #:18

 

 

 

 

 

 

 

 

 

CM-010
"Richard A. Jones (SBN 117079), Jarrick Goldhamer (SBN 299638) Pon counrwesemy
Law Offices of Richard A. Jones
1820 E. 17th Street, Santa Ana, CA 92705 F | L E D
rererrone No: 714-480-0200 raxno; 714-480-0423 Superior Court of California
ATTORNEY FOR (Name: David DeHate County of Riverside
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside
srreet apprEss: 30755-D Auld Road ee
MAILING ADDRESS: .
cy anpzip core: Murrieta, CA 92563 Electronically Filed
prancuname: SOUthwest Justice Center
CASE NAME:
DeHate v Lowe's Home Centers, LLC et al.
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER: WMCC1901302
Unlimited  [_] Limited mo Oo
(Amount (Amount Counter Jolnder Toe
demanded demanded is Filed with first appearance by defendant
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:
items 1-6 below must be completed (see instructions on page 2).
4. Check one box below for the case type that best describes this case:
Auto Tort Contract Provistonally Complex Civil Litigation
Auto (22) Breach of contractwarranty (08) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) L_] Rule 3.740 collections (09) [J Antitrust/Trade regulation (03)
Other PIPD/WD (Personal tnjury/Property | Other collections (09) _] Construction defect (40)
Damage/Wrongfut Death) Tort (_] insurance coverage (18) [__] Mass tort (40)
C_] Asbestos (04) CL] Other contract (37) | Securities litigation (28)
[J] Product tiabitty (24) Real Property [} Environmental/Toxle tort (30)
[_] Medical matpractice (45) Eminent domain/Inverse Insurance coverage claims arising from the
Other PIPD/WD (23) condamnation (14) above listed provisionally complex case
Non-PU/PDAVD (Other) Tort [J Wrongtul eviction (33) types (41)
LJ Business tortfunfair business practice (07) CI Other real property (26) Enforcement of Judgment
| Civil rights (08) Unlawful Detainer Co Enforcement of judgment (20)
[__] Defamation (13) Commercial (31) Miscellaneous Civil Complaint
[_] Fraud (16) L_] Residential (32) [_} rico (27)
[_] intellectual property (19) L_] Drugs (38) Other complaint (not specified above) (42)
[__] Professional negligence (25) Judicial Review Miscellaneous Civil Petition
C1 Other non-P/PDWD tort (35) Co Asset forfeiture (05) Partnership and corporate governance (21)
Employment [_] Petition re: arbitration award (11) Other petition (not specified above) (43)
[—] Wrongtut termination (36) [J] writ of mandate (02)
] Other employment (15) L_] Other judicial review (39)

 

 

 

2. Thiscase L_Jis [Ly] isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. [J Large number of separately represented parties d. Cj Large number of witnesses

b. | Extensive motion practice raising difficult or novel —e. Cc] Coordination with related actions pending in one or more courts
Issues that will be time-consuming to resolve in other countles, states, or countries, or in a federal court

c. [_] Substantial amount of decumentary evidence t. [] substantial postjudgment judicial supervision

Remedies sought (check all that apply): a.\¥] monetary .[__] nonmonetary; declaratory or injunctive relief. [—_]punitive
Number of causes of action (specify): TWO

This case L_Jis isnot aciass action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

Date: 10/18/19
Richard A. Jones

iad

(TYPE OR PRINT NAME) {SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
NOTICE
« Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed

under the Probate Code, Family Code, or Welfare and institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions.

® File this cover sheet in addition to any cover sheet required by local court rule.

© If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

« Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

 

 

Ferm Adopted for Mand: Use Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Gouncllof Calforie CIVIL CASE COVER SHEET Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. July 1, 2007} www. courtinio.ca,gav
Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 10o0f14 Page ID#:19

INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

CM-010

To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheef contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the shest, examples of the cases that belong under each case type in ifem 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,

its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 Is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections

case will be subject to the requirements for service and obtaining a judgment in rule 3,740.

To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. if a plaintiff belleves the case Is complex under rule 3.400 of the Callfomia Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex,

Auto Tort

Auto (22)}-Personal Injury/Property
Damage/Wrongful Death

Uninsured Motorist (46) (/f fhe
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)

Other PUPD/WD (Personal injury/
Property Damage/Wrongful Death)
ort

Asbestos (04)

Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death

Product Liability (not asbestos ar
toxic/environmental} (24)

Medical Malpractice (45)

Medical Malpractice—
Physicians & Surgeons

Other Professional Health Care
Malpractice

Other PYPD/WD (23)

Premises Llabitity (e.g., slip
and fall)

Intentional Bodily InjuryfPDAWD
(e.g., assault, vandalism)

Intentional Infliction of
Emotional Distress

Negligent Infliction of
Emotional Distress

Other P/PD/WD

Non-PU/PD/WD {Other} Tort
Business Tort/Unfair Business
Practice (07)

Civil Rights (e.9., discrimination,
false arrest) (not civil
harassment) (08)

peas (e.g., slander, libel)

13)

Fraud (16)
Intellectual Property (19)
Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice
{not medical or legal}
Other Non-PYPD/WD Tort (35)
Employment
Wrongful Termination (36)
Other Employment (15)

CM-010 (Rev. July 1, 2007)

CASE TYPES AND EXAMPLES
Contract
Breach of ContractWarranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach-Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contract
Warranty
Other Breach of Contract/Warranty
Collections (e.g.. money owed, open
book accounts) (09)
Collection Case—Seller Plaintiff
Other Promissory Note/Collections

Case
Insurance Coverage (not provisionally
complex) (78)
Auto Subrogation
Other Coverage
Other Contract (37)
Contractual Fraud

Other Contract Dispute
Real Property

Eminent Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.g., quiat title) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, landiordienant, or
foreclosure)

Untawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judiclal Review (39)

Review of Health Officer Order
Notice cf Appeal—Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

 

Provisionally Complex Civil Litigation (Cal.
Rules of Court Rules 3.400-3.403)
Antitrust(Trade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complex
case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
{not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
Other Enforcement of Judgment
ase

Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
{njunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercial Comptaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-tor/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Govermance (21)
Other Petition (not specified
above} (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adult
Abuse
Election Contest
Petition for Name Change
Petition for Relief From Late
Claim
Other Civil Petition

Page 2 of 2
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

 

 

 

 

 

 

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C) BLYTHE 265 N. Broadway, Blythe, CA 92225 (] PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
OO HEMET 880 N. State St., Hemet, CA 92543 O1_ RIVERSIDE 4050 Main SL, Riversida, CA 92501
(1) MORENO VALLEY 13800 Heacock St., Ste. D201, ( TEMECULA 41002 County Center Dr., #100, Temecula, CA 92591
Moreno Valley, CA $2553
RI-030
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and adores} FOR COURT USE ONLY
Richard A. Jones (SBN erg) ONES
OFFICES OF RICHARD A, J
1820 E. 17th Street Fl LED
Santa Ana, CA 92705 Superior Court of California
recepone no: 714 480 0200 FAX NO. (Optionay: 714 480 0423 County of Riverside
E-MAIL ADDRESS (Optioney: Melinda@ricjonesiegal.com 10/18/2018
ATTORNEY FOR (Nemey, David DeHate J. Valdez
Electronically Filed
PLAINTIFF/PETITIONER: David DeHate
DEFENDANT/RESPONDENT: LOWE'S HOME CASE NUMBER:
MCC1901302
CERTIFICATE OF COUNSEL

 

The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
specified below:

The action arose in the zip code of: 92545

 

© ‘The action concerns real property located in the zip code of:

1 The Defendant resides in the zip code of:

 

For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 1.0015 at www.riverside.courts.ca.gov.

| certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.

Date 10/18/19

 

 

 

Richard A. Jones >
(iYPE OR PRINT NAME OF UO) ATTORNEY OU) PARTY MAKING DECLARATION) TSIGNATURE)
Page 7 of 1
Riorside onc CERTIFICATE OF COUNSEL siverside.coutts.ca.gowfocalinnsficatinns shi

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Case 5:19-cv-02505-JGB-SP Document1-1 Filed 12/30/19 Page 12 0f14 Page ID#:21

RI-ADROO1-INFO

SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
www.riverside.courts.ca.gov

Self-represented parties: http://riverside.courts.ca.gov/selfhelp/self-help.shtm!

 

 

ALTERNATIVE DISPUTE RESOLUTION (ADR) —
INFORMATION PACKAGE

** THE PLAINTIFF MUST SERVE THIS INFORMATION PACKAGE
ON EACH PARTY WITH THE COMPLAINT. ***

 

 

 

What is ADR?

Alternative Dispute Resolution (ADR) is a way of solving legal disputes without going to trial.
The main types are mediation, arbitration, and settlement conferences.

Advantages of ADR:
« Faster: ADR can be done in a 1-day session within months after filing the complaint.
« Less expensive: Parties can save court costs and attorneys’ and witness fees.
« More control: Parties choose their ADR process and provider.
« Less stressful: ADR is done informally in private offices, not public courtrooms.

Disadvantages of ADR:
« No publictrial: Parties do not get a decision by a judge or jury.
a Costs: Parties may have to pay for both ADR and litigation.

Main Types of ADR:

Mediation: In mediation, the mediator listens to each person's concerns, helps them
evaluate the strengths and weaknesses of their case, and works with them to create a
settlement agreement that is acceptable to everyone. If the parties do not wish fo settle
the case, they go to trial.

Mediation may be appropriate when the parties:
2 Want to work out a solution but need help from a neutral person; or
a have communication problems or strong emotions that interfere with resolution; or
« have acontinuing business or personal relationship.

Mediation is not appropriate when the parties:
« want their public “day in court’ or a judicial determination on points of law or fact;
2 lack equal bargaining power or have a history of physical/emotional abuse.

Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
arguments to the person who decides the outcome. In “binding” arbitration the arbitrator's
decision is final; there is no right to trial. In “non-binding” arbitration, any party can request
a trial after the arbitrator's decision. The court’s mandatory Judicial Arbitration program is
non-binding.

Page 1 of 2

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Riverside Superler Court
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Case 5:19-cv-02505-JGB-SP Document 1-1 Filed 12/30/19 Page 13 0f14 Page ID #:22

Arbitration may be appropriate when the parties:
z _ want to avoid trial, but still want a neutral person to decide the outcome of the case.

Arbitration is not appropriate when the parties:
« donot want to risk going through both arbitration and trial (Judicial Arbitration)
« donot want to give up their right to trial (binding arbitration)

Settlement Conferences: Settlement conferences are similar to mediation, but the settlement officer
usually tries to negotiate an agreement by giving strong opinions about the strengths and weaknesses
of the case, its monetary value, and the probable outcome at trial. Settlement conferences often
involve attorneys more than the parties and often take place close to the trial date.

RIVERSIDE COUNTY SUPERIOR COURT ADR REQUIREMENTS
ADR Information and forms are posted on the ADR website: http://riverside. courts.ca.gov/adr/adr.shtml

General Policy:
Parties in most general civil cases are expected to participate in an ADR process before requesting a

trial date and to participate in a settlement conference before trial. (Local
Rule 3200)

Court-Ordered ADR:
Certain cases valued at under $50,000 may be ordered to judicial arbitration or mediation. This order is
usually made at the Case Management Conference. See the “Court-Ordered
Mediation Information Sheet” on the ADR website for more information.

Private ADR (for cases not ordered to arbitration or mediation):
Parties schedule and pay for their ADR process without Court involvement. Parties may schedule

private ADR at any time; there is no need to wait until the Case Management Conference. See the
“Private Mediation Information Sheet" on the ADR website for more information.

BEFORE THE CASE MANAGEMENT CONFERENCE (CMC), ALL PARTIES MUST:
1. Discuss ADR with all parties at least 30 days before the CMC. Discuss:
« Your preferences for mediation or arbitration.
« Your schedule for discovery (getting the information you need) to make good decisions about
settling the case at mediation or presenting your case at an arbitration.
2. File the attached “Stipulation for ADR’ along with the Case Management Statement, if all parties can
agree.
3. Be prepared to tell the judge your preference for mediation or arbitration and the date when you
could complete it.
(Local Rule 3218)

RIVERSIDE COUNTY ADR PROVIDERS INCLUDE:

« The Court's Civil Mediation Panel (available for both Court-Ordered Mediation and Private Mediation).
See http://adr.riverside.courts.ca.gov/civil/panelist.php or ask for the list in the civil clerk's office, attorney
window.

« Riverside County ADR providers funded by DRPA (Dispute Resolution Program Act):

Dispute Resolution Service (DRS) Riverside County Bar Association: (951) 682-1015
Dispute Resolution Center, Community Action Partnership (CAP): (951) 955-4900

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

(0 +BLYTHE 265 N. Broadway, Blythe, CA 92225 (1 +PALM SPRINGS 3255 Tahquitz Canyon Way, Palm Springs, CA 92262
CL] MURRIETA 30755-D Auld Rd., Ste. 1226, Murrieta, CA 92563 DL sRIVERSIDE 4050 Main St, Riverside, CA 92501

 

 

 

 

 

 

 

 

RI-ADROO1
ATTORNEY OR PARTY WITHOUT ATTORNEY (Naima, State Ber Number and Address} FOR COURT USE ONLY
TELEPHONE NO: FAX NO. (Optional):
E-MAIL ADDRESS (Optional:
ATTORNEY FOR (Nama}:
PLAINTIFF/PETITIONER:
CASE NUMBER:
DEFENDANT/RESPONDENT:
CASE MANAGEMENT CONFERENCE DATE(S):
STIPULATION FOR ALTERNATIVE DISPUTE RESOLUTION (ADR)
(CRC 3.2221; Local Rule, Title 3, Division 2)
Court-Ordered ADR:

Eligibility for Court-Ordered Mediation or Judicial Arbitration will be determined at the Case Management
Conference. If eligible, the parties agree to participate in:

(J Mediation (CJ Judicial Arbitration (non-binding)

Private ADR:
If the case is not eligible for Court-Ordered Mediation or Judicial Arbitration, the partles agree to participate in the
following ADR precess, which they will arrange and pay for without court involvement:

] Mediation CJ Judicial Arbitration (non-binding)
C1 Binding Arbitration [1 Other (describe):

 

Proposed date to complete ADR:
SUBMIT THIS FORM ALONG WITH THE CASE MANAGEMENT STATEMENT.

 

 

 

 

(PRINT NAME OF PARTY OR ATTORNEY)
OO Plaintiff (J Defendant

(SIGNATURE OF PARTY OR ATTORNEY) (DATE)

 

 

 

 

ER NAME OF PARTY OR ATTORNEY) (SIGNATURE OF PARTY OR ATTORNEY) (DATE)
Plaintiff ( Defendant
(PRINT NAME OF PARTY OR ATTORNEY) (SIGNATURE OF PARTY OR ATTORNEY) (BATE)

O Plaintiff [1 Defendant

{PRINT NAME OF PARTY OR ATTORNEY)
OO Plaintiff 0 Defendant

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(SIGNATURE OF PARTY OR ATTORNEY)

ALTERNATIVE DISPUTE RESOLUTION
(ADR) STIPULATION

{DATE)

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